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                            THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC,

               Plaintiff,
                                                  CIVIL ACTION NO. 1:20-CV-00392-MN
       v.

DEEZER, INC.,                                        JURY TRIAL DEMANDED

               Defendant.




                               FIRST AMENDED COMPLAINT


       Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “Rothschild

Broadcast Distribution Systems”) files this First Amended Complaint against Deezer, Inc.

(“Deezer”) for infringement of U.S. Patent No. 8,856,221 (hereinafter the “`221 Patent”) and

alleges as follows:

                                            PARTIES

       1.      Plaintiff is a Texas limited liability company with an office at 1801 NE 123

Street, Suite 314, Miami, FL 33181.

       2.      On information and belief, Defendant is a Delaware corporation, with a place of

business at 383 Corona St., Denver, CO 80218. On information and belief, Defendant may be

served with process through its registered agent, Paracorp Incorporated, 2410 S. Dupont Hwy.,

Camden, DE 19934.

                                JURISDICTION AND VENUE

       3.      This action arises under the patent laws of the United States, 35 U.S.C. § 271 et

seq. Plaintiff is seeking damages, as well as attorney fees and costs.



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          4.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents).

          5.     On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic

activities in this District.

          6.     Upon information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in the District.

Alternatively, Defendant has already appeared in this action and has not challenged in personam

jurisdiction or venue, which are now waived by operation of law.

          7.     Venue is proper in this District under 28 U.S.C. §1400(b) because Defendant is

deemed to be a resident in this District.

                                            BACKGROUND

          8.     On October 7, 2014, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the `221 Patent, entitled “System and Method for Storing Broadcast

Content in a Cloud-Based Computing Environment” after the USPTO completed a full and fair

examination. The ‘221 Patent is attached as Exhibit A.

          9.     Rothschild Broadcast Distribution Systems is currently the owner of the `221

Patent.

          10.    Rothschild Broadcast Distribution Systems possesses all rights of recovery under

the `221 Patent, including the exclusive right to recover for past, present and future infringement.

          11.    The `221 Patent contains thirteen claims including two independent claims

(claims 1 and 7) and eleven dependent claims.




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                                            COUNT ONE
                          (Infringement of United States Patent No. 8,856,221)

        12.     Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the same

as if set forth herein.

        13.     This cause of action arises under the patent laws of the United States and, in

particular under 35 U.S.C. §§ 271, et seq.

        14.     Defendant has knowledge of its infringement of the `221 Patent, at least as of the

service of the present complaint.

        15.     On October 7, 2014, the United States Patent & Trademark Office (USPTO) duly

and legally issued the ‘221 Patent.

        16.     The ‘221 Patent teaches a method and apparatus for media content storage and

delivery. Among other things, the claimed system includes a server, which has a receiver in

communication with a processor. The receiver receives a request message. The request message

includes media data indicating requested media content and a consumer device identifier

corresponding to a consumer device. The processor determines whether the consumer device

identifier corresponds to a registered consumer device. If the processor determines that the

consumer device identifier corresponds to the registered consumer device, then the processor

determines whether the request message is one of a storage request message and a content

request message. If the request message is the storage request message, then the processor is

further configured to determine whether the requested media content is available for storage. If

the request message is the content request message, then the processor initiates delivery of the

requested media content to the consumer device. ‘221 Patent, Abstract.

        17.     The present invention solves problems that existed with then-existing media

delivery systems. One problem with prior delivery systems is that the customer was charged



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according to the expenses of the provider rather than the usage of the customer. Customers were

not charged based on the amount of programming delivered or the amount or duration of the

customer’s storage of media. Id., 1:31-57. Another such problem, more generally, is that

customers were not billedn and services were not provided, in a way that was tailored to the

customer’s needs and usage. Id. 2:3-13.

       18.     A number of aspects of the invention(s) embodied in the ‘221 Patent overcome

the problems with the prior art. For example, the inventive system includes a processor in

communication with a receiver. Id., 2:23-34.         The processor determines media content

characteristics that correspond to the media content to be stored. Id. The processor determines a

length of time to store the media content based on the media data and determines a cost amount

based at least in part on the determined media content characteristics and length of time to store

the media content. Id.     As another example, the system makes a determination that media

content is available for download. Id., 2:64-3:2. A determination is made that content is not

stored. Download of the media content is initiated. Id. The media content is received and the

received media content is stored. Id.

       19.     The ‘221 Patent is directed to computerized technologies to provide users with

tailored media delivery systems and tailored billing for such systems. Among other things, the

‘221 Patent claims include sending and receiving of request messages indicating requested media

content and including a device identifier corresponding to a consumer device. A determination

is made whether the identifier corresponds to the device. A determination is also made as to

whether the request is for delivery or storage. The media data in the request includes time data

that indicates a length of time for storage. A processor is configured to determine whether




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requested media exists and whether there are any restrictions associated with delivery or storage

of the requested media.

       20.     The system(s) and methods of the ‘221 Patent include software and hardware that

do not operate in a conventional manner. For example, the software is tailored to provide

functionality to perform recited steps and the processor is configured (and/or programmed) to

provide functionality recited throughout the claims of the ‘221 Patent.

       21.     The ‘221 Patent solves problems with the art that are rooted in computer

technology and that are associated with electronic transmission, loading, and storage of location

information, as well as automatic provisioning of route guidance. The ‘221 Patent claims do not

merely recite the performance of some business practice known from the pre-Internet world

along with the requirement to perform it on the Internet.

       22.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 7, of the ‘221 Patent by making, using, importing,

selling, and/or offering for media content storage and delivery systems and services covered by

one or more claims of the ‘221 Patent.

       23.     Accordingly, Defendant has infringed, and continues to infringe, the `221 Patent

in violation of 35 U.S.C. § 271.

       24.     Defendant sells, offers to sell, and/or uses media content storage and delivery

systems and services, including, without limitation, the Deezer streaming platform, and any

similar products (“Product”), which infringes at least Claim 7 of the ‘221 Patent.

       25.     The Product practices a method of storing (e.g., cloud storage) media content (e.g.

and recorded music) and delivering requested media content to a consumer device. Certain




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aspects of these elements are illustrated in the screenshots below and/or in those provided in

connection with other allegations herein.




       26.     The Product necessarily includes a receiver configured to receive a request

message including data indicating requested media content (e.g., the Product must have

infrastructure to receive a request to store recorded media content or to stream recorded media

content on a smartphone; additionally, the request message must contain data that identifies the

content to be stored or streamed) and a consumer device identifier corresponding to a consumer


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device (e.g., the user credentials are used to access the contents of the Product). Certain aspects

of these elements are illustrated in the screenshots below and/or in those provided in connection

with other allegations herein.




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       27.     The at least one server necessarily determines whether the consumer device

identifier corresponds to the registered consumer device (e.g., a user must be a registered user to

access the Product’s services). Certain aspects of these elements are illustrated in the screenshots

below and/or in those provided in connection with other allegations herein.




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       28.    The Product provides for both media downloads and/or storage, and media

streaming. After a successful login, the Product necessarily determines whether the request

received from a customer is a request for storage (e.g., recording or storing content) or content

(e.g., streaming of media content). Certain aspects of these elements are illustrated in the

screenshots below and/or in those provided in connection with other allegations herein.




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       29.     The Product verifies that media content identified in the media data of the storage

request message (e.g., request to record content) is available for storage in order to prevent data

errors that would result from attempting to store content that is not available for storage. The

Product must verify that the media content (e.g. specific recording) identified in the media data

of the storage request message is available for storage in order to prevent data errors that would

result from attempting to store content that is not available for storage (e.g., the product must

verify a user’s ability to store video is limited to a certain amount of memory usage based upon

their subscription; thus media content may not be available for storage if a user is already above

their memory limit or if the user has not subscribed to any service). Certain aspects of these

elements are illustrated in the screenshots below and/or in those provided in connection with

other allegations herein.




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       30.     If a customer requests content (e.g., live streaming of media content), then a

processor within the Product necessarily initiates delivery of the content to the customer’s



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device. The server will initiate delivery of the requested media content to the consumer device

(e.g., stream media content feed to a smartphone or tablet or desktop computer) if the request

message is a content request message (e.g., request for live streaming). Certain aspects of these

elements are illustrated in the screen shots below and/or in screen shots provided in connection

with other allegations herein.




       31.     The media data time data that indicates a length of time to store the requested

media content (e.g. a user is allowed to store media content for maximum 30 days as based upon

their subscription level). Certain aspects of these elements are illustrated in the screenshots

below and/or in those provided in connection with other allegations herein.


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       32.    The server must first determine whether the requested media content exists prior to

initiating delivery in order to prevent data errors that would result from attempting to transmit

media content that does not exist (e.g. the product must verify that a particular requested data is

stored in the cloud). Certain aspects of these elements are illustrated in the screenshots below

and/or in those provided in connection with other allegations herein.




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       33.    After the processor determines whether the requested media content is available, it

determines whether there are restrictions associated with the requested media content (e.g.,

subscription level etc.). Certain aspects of these elements are illustrated in the screenshots

provided in connection with other allegations herein.

       34.       Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this Court.

       35.   Defendant’s actions complained of herein is causing irreparable harm and monetary

damage to Plaintiff and will continue to do so unless and until Defendant is enjoined and

restrained by this Court.

       36.     The `221 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.




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        37.       A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast

Content in a Cloud-based Computing Environment,” is attached hereto as Exhibit A.

        38.     By engaging in the conduct described herein, Defendant has injured Plaintiff and

is liable for infringement of the `221 Patent, pursuant to 35 U.S.C. § 271.

        39.   Defendant has committed these acts of literal infringement, or infringement under

the doctrine of equivalents of the `221 Patent, without license or authorization.

        40.    As a result of Defendant’s infringement of the `221 Patent, injured Plaintiff has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.

        41.   Plaintiff is in compliance with 35 U.S.C. § 287.

        42.     As such, Plaintiff is entitled to compensation for any continuing and/or future

infringement of the `221 Patent up until the date that Defendant ceases its infringing activities.

                                  DEMAND FOR JURY TRIAL

        43.   Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal Rules of

Civil Procedure, requests a trial by jury of any issues so triable by right.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff asks the Court to:

(a)   Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;


(b) Enter an Order enjoining Defendant, its agents, officers, servants, employees, attorneys, and

all persons in active concert or participation with Defendant who receives notice of the order

from further infringement of United States Patent No. 8,856,221 (or, in the alternative, awarding

Plaintiff running royalty from the time judgment going forward);




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(c) Award Plaintiff damages resulting from Defendants infringement in accordance with 35

U.S.C. § 284;

(d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law or

equity.

Dated: May 20, 2020                                     Respectfully submitted,



                                                        /s/
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                                                        ATTORNEYS FOR PLAINTIFF
                                                        ROTHSCHILD BROADCAST
                                                        DISTRIBUTION SYSTEMS, LLC

                                   CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on May
20, 2020.

                                                /s/
                                                Jimmy Chong




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